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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
JAQUIA BUIE,                         )
                                     )
            Plaintiff,               )
v.                                   ) C.A. No. 16-cv-1920 (CKK)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
            Defendants.              )
____________________________________)

        DEFENDANT DISTRICT OF COLUMBIA’S ANSWER TO THE COMPLAINT

         Defendant District of Columbia (“the District”) answers the Complaint in like-numbered

paragraphs.

                                            FIRST DEFENSE

         The Complaint fails to state a claim upon which relief can be granted against the District.

                             I.      JURISDICTIONAL STATEMENT

                  The District admits the existence of the statutory authority cited by Plaintiff, but

denies that it necessarily confers jurisdiction over the District or that venue is proper solely by

reason thereof.

                                      II.     INTRODUCTION

1.       The District has insufficient information to admit or denies the remaining allegations in

paragraph 1.

2.       The District admits the allegations in the first sentence of paragraph 2. The District also

admits that Muriel E. Bowser is the Mayor of the District. Mayor Bowser has been dismissed

from this law suit for the reasons explained in the Court’s August 30, 2017, Memorandum Opinion

[19].
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3.     The District admits that Defendant Darrel Best was employed with the MPD.           The

District has insufficient information to admit or deny that at all times relevant Defendant Best was

armed and in full police uniform. The District denies that Defendant Best was acting under the

color of state or local law or was acting within the course and scope of his employment. The

District recognizes that Plaintiff has sued Defendant Best in his official and individual capacity but

the District asserts that it cannot be held liable for Defendant Best’s actions and conduct

committed outside the scope of his employment. Mayor Bowser has been dismissed from this

law suit for the reasons explained in the Court’s August 30, 2017, Memorandum Opinion [19].

                                     III.    ALLEGATIONS

4.     As stated, the District has insufficient information to admit or deny the allegations in the

first sentence. The District denies all other allegations in paragraph 4.

5.     As stated, the District has insufficient information to admit or deny the allegations

paragraph 5.

6.     As stated, the District has insufficient information to admit or deny the allegations

paragraph 6.

7.     As stated, the District has insufficient information to admit or deny the allegations

paragraph 7.

8.     The District admits that in 2008, a female employee of the MPD accused Defendant Best of

inappropriately touching her and making inappropriate comments to her.

9.     The District admits that Defendant Best was demoted from sergeant to officer. The

District denies the remaining allegations in paragraph 9.

10.    The allegations in paragraph 10 concern Defendant Best, and therefore, no response is

required.   To the extent that a response is required, the District denies liability because

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Defendant Best was not acting within the scope of his employment.

11.     As stated, the District has insufficient information to admit or deny the allegations in

paragraph 11.

12.     The District has insufficient information to admit or deny the allegations in paragraph 12.

13.     The District has insufficient information to admit or deny the allegations in paragraph 13.

14.     The District has insufficient information to admit or deny the allegations in the first

sentence of paragraph 14. The District denies the remaining allegations.

15.     The allegations in paragraph 15 do not pertain to the District, and therefore, no response is

required.   If a response is required the District denies any inference of any wrongdoing by the

District.

16.     The District has insufficient information to admit or deny the allegations in paragraph 16.

17.     The District has insufficient information to admit or deny the allegations in paragraph 17.

18.     The District admits the allegations as to Linwood Barnhill and Marc Washington. The

District has insufficient information to admit or deny the remaining allegations in paragraph 18.

19.     Paragraph 19 contains conclusions of the pleader, and therefore, no answer is required.

20.     The District has insufficient information to admit or deny the allegations in paragraph 20.

21.     The District has insufficient information to admit or deny the allegations in paragraph 21.

22.     The District has insufficient information to admit or deny the allegations in paragraph 22

because Plaintiff has not identified the effective date of the General order she is referring to.

23.     The District has insufficient information to admit or deny the allegations in paragraph 23

because Plaintiff has not identified the effective date of the General order she is referring to.

24.     Paragraph 24 requires no response as the allegations contained therein do not pertain to the

District.

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25.    The District has insufficient information to admit or deny the allegations in paragraph 25

because Plaintiff has not identified the source of her allegation.

26.    The District denies the allegations in paragraph 26.

27.    Paragraph 27 requires no response as the allegations contained therein do not pertain to this

Defendant. To the extent the allegations are true the District denies liability because Defendant

Best was not acting within the scope of his employment.

28.    Paragraph 28 requires no response as the allegations contained therein do not pertain to this

Defendant. To the extent the allegations are true the District denies liability because Defendant

Best was not acting within the scope of his employment.

29.    Paragraph 29 requires no response as the allegations contained therein do not pertain to the

District. To the extent the allegations are true the District denies liability because Defendant Best

was not acting within the scope of his employment.

30.    Paragraph 30 requires no response as the allegations contained therein do not pertain to the

District. To the extent the allegations are true the District denies liability because Defendant Best

was not acting within the scope of his employment.

31.    The District has insufficient information to admit or deny the allegations in paragraph 31

because Plaintiff has not identified the specific policy she is referring to.

32.    The District has insufficient information to admit or deny the allegations in paragraph 32 of

the Complaint. To the extent the allegations are true the District denies liability because

Defendant Best was not acting within the scope of his employment.

33.    The District has insufficient information to admit or deny the allegations in paragraph 33.

To the extent the allegations are true the District denies liability because Defendant Best was not

acting within the scope of his employment.

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34.    The District has insufficient information to admit or deny the allegations in paragraph 34.

To the extent the allegations are true the District denies liability because Defendant Best was not

acting within the scope of his employment.

35.    The District has insufficient information to admit or deny the allegations in paragraph 35.

To the extent the allegations are true the District denies liability because Defendant Best was not

acting within the scope of his employment.

36.    The District has insufficient information to admit or deny the allegations in paragraph 36.

To the extent the allegations are true the District denies liability because Defendant Best was not

acting within the scope of his employment.

37.    The District has insufficient information to admit or deny the allegations in paragraph 37.

To the extent the allegations are true the District denies liability because Defendant Best was not

acting within the scope of his employment.

38.    The District has insufficient information to admit or deny the allegations in paragraph 38.

To the extent the allegations are true the District denies liability because Defendant Best was not

acting within the scope of his employment.

39.    The District has insufficient information to admit or deny the allegations in paragraph 39.

To the extent the allegations are true the District denies liability because Defendant Best was not

acting within the scope of his employment.

40.    The District has insufficient information to admit or deny the allegations in paragraph 40.

41.    The District admits the allegations in paragraph 41.

42.    The District has insufficient information to admit or deny the allegations the first sentence

of Paragraph 42. The remaining allegations of Paragraph 42 require no response as the

allegations contained therein do not pertain to the District.

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43.        The District has insufficient information to admit or deny the allegations in paragraph 43.

                                          COUNT ONE
                       Deprivation of Liberty and Right to Bodily Integrity
                                        (42 U.S.C. § 1983)
                          Due Process Clause of the Fifth Amendment

44.       The District incorporates its answers to paragraphs 1 through 43 as if separately set forth

herein.

45.       The District denies that Defendant Best was acting within the scope of his duties and

employment as a MPD police officer. The District further denies that Defendant Best was acting

under the color of law as a MPD police officer.

46.       Paragraph 46 contains legal conclusions and therefore, no response is required. The

District denies the allegations in paragraph 46.

47.       Paragraph 46 contains legal conclusions and therefore, no response is required. The

District denies the allegations in paragraph 46.

48.       The District denies the allegations in paragraph 48.

49.       The District denies the allegations in paragraph 49.

50.       The District denies the allegations in paragraph 50.

51.       The District denies the allegations in paragraph 51.

52.       The District denies the allegations in paragraph 52.

53.       The District denies the allegations in paragraph 53.

54.       The District denies the allegations in paragraph 54.

55.       The District denies the allegations in paragraph 55.

56.       The District denies the allegations in paragraph 56.

57.       The District denies the allegations in paragraph 57.

58.       The District denies the allegations in paragraph 58.
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59.       The District denies the allegations in paragraph 59.

60.       The District denies the allegations in paragraph 60.

61.       The District denies the allegations in paragraph 61.

62.       The District denies the allegations in paragraph 62.

63.       The District denies the allegations in paragraph 63.

64.       The District denies the allegations in paragraph 64.

65.       The District denies the allegations in paragraph 65.

                                           COUNT TWO
                                Unlawful Seizure by a Police Officer
                               (42 U.S.C. § 1983) Fourth Amendment

66.       The District incorporates its answers to paragraphs 1 through 65 as if separately set forth

herein.

67.       The allegations in paragraph 67 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

68.       The allegations in paragraph 68 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

69.       The allegations in paragraph 69 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

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acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

70.     The allegations in paragraph 70 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

71.     The District denies the allegations in paragraph 71 because Plaintiff was not detained by a

person acting within the scope of his duties and employment as a MPD police officer. Further,

the District denies that Plaintiff was detained by a person acting under the color of law as a MPD

police officer.

72.     The District denies the allegations in paragraph 72 because Plaintiff was not detained by a

person acting within the scope of his duties and employment as a MPD police officer. Further,

the District denies that Plaintiff was detained by a person acting under the color of law as a MPD

police officer.

73.     The allegations in paragraph 73 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Plaintiff was not detained

by a person acting within the scope of his duties and employment as a MPD police officer.

Further, the District denies that Plaintiff was detained by a person acting under the color of law as

a MPD police officer.

74.     The District denies the allegations in paragraph 74.

75.     The District denies the allegations in paragraph 75.

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                                          COUNT THREE
                                   (Against the District of Columbia)
                                           Injunctive Relief

76.       The District incorporates its answers to paragraphs 1 through 75 as if separately set forth

herein.

77.       The District denies the allegations in paragraph 77.

78.       The District denies the allegations in paragraph 78.

79.       The District denies that Plaintiff is entitled to injunctive relief as alleged in paragraph 79.

80.       The District denies the allegations in paragraph 80.

81.       The District denies the allegations in paragraph 81.

                                              COUNT FOUR
                                               Negligence

82.       The District incorporates its answers to paragraphs 1 through 81 as if separately set forth

herein.

83.       The District denies the allegations in paragraph 83.

84.       The District denies the allegations in paragraph 84.

85.       The District has insufficient information to admit or deny the allegations in paragraph 85

because Plaintiff has not identified the effective date of the General order she is referring to.

86.       The District denies the allegations in paragraph 86.

87.       The District denies the allegations in paragraph 87.

88.       The District denies the allegations in paragraph 88.

                                            COUNT FIVE
                                  (Against the District of Columbia)
                                      Negligence Entrustment

89.       The District incorporates its answers to paragraphs 1 through 88 as if separately set forth

herein.
                                                     9
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90.       The District denies liability because Defendant Best was not acting within the scope of his

duties and employment as a MPD police officer. Further, the District denies liability because

Defendant Best was not acting under the color of law as a MPD police officer.

91.       Defendant denies the allegations in paragraph 91.

92.       Paragraph 92 contains legal conclusion, and therefore, no response is required. If a

response is required, the District denies liability because Defendant Best was not acting within the

scope of his duties and employment as a MPD police officer. Further, the District denies liability

because Defendant Best was not acting under the color of law as a MPD police officer.

93.       Defendant denies the allegations in paragraph 93.

94.       Defendant denies the allegations in paragraph 94.

95.       Defendant denies the allegations in paragraph 95.

                                            COUNT SIX
                                 (Against the District of Columbia)
                                       Negligence Retention

96.       The District incorporates its answers to paragraphs 1 through 95 as if separately set forth

herein.

97.       The District denies the allegations in paragraph 97.

98.       The District denies the allegations in paragraph 98.

99.       The District admits the allegations in paragraph 99.

100.      The District denies the allegations in paragraph 100.

101.      The District denies the allegations in paragraph 101.

102.      The District denies the allegations in paragraph 102.

                                        COUNT SEVEN
                            Negligence Infliction of Emotional Distress

103.      The District incorporates its answers to paragraphs 1 through 102 as if separately set forth
                                                   10
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herein.

104.      The allegations in paragraph 104 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

105.      Defendant denies the allegations in paragraph 105.

106.      Defendant denies the allegations in paragraph 106.

107.      Defendant denies the allegations in paragraph 107.

108.      The allegations in paragraph 108 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

109.      The District denies liability because Plaintiff was not detained by a person acting within

the scope of his duties and employment as a MPD police officer. Further, the District denies that

Plaintiff was detained by a person acting under the color of law as a MPD police officer.

                                          COUNT EIGHT
                             Intentional Infliction of Emotional Distress

110.      The District incorporates its answers to paragraphs 1 through 109 as if separately set forth

herein.

111.      Defendant denies the allegations in paragraph 111.

112.      Defendant denies the allegations in paragraph 112.

113.      Defendant denies the allegations in paragraph 113.
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114.      The allegations in paragraph 114 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

115.      The District denies liability because Defendant Best was not acting within the scope of his

duties and employment as a MPD police officer. Further, the District denies liability because

Defendant Best was not acting under the color of law as a MPD police officer.

                                            COUNT NINE
                                       Sexual Abuse of a Minor

116.      The District incorporates its answers to paragraphs 1 through 115 as if separately set forth

herein.

117.      The allegations in paragraph 117 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

118.      The allegations in paragraph 118 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

119.      The allegations in paragraph 119 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not
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acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

120.      The allegations in paragraph 120 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

121.      The allegations in paragraph 121 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

                                           COUNT TEN
                                      Breach of Fiduciary Duty

122.      The District incorporates its answers to paragraphs 1 through 121 as if separately set forth

herein.

123.      The allegations in paragraph 123 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

124.      The allegations in paragraph 124 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not
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acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

125.     The allegations in paragraph 125 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

126.     The allegations in paragraph 121 do not pertain to the District, and therefore, no response is

required. If a response is required, the District denies liability because Defendant Best was not

acting within the scope of his duties and employment as a MPD police officer. Further, the

District denies liability because Defendant Best was not acting under the color of law as a MPD

police officer.

         WHEREFORE, the Defendant states that Plaintiff is not entitled to compensatory

damages, punitive damages, injunctive relief, reasonable attorneys’ fees and cost, or any relief

whatsoever from the District.

                                         SECOND DEFENSE

         Further answering the complaint, the District denies all allegations not specifically

admitted or otherwise answered.

                                          THIRD DEFENSE

         Defendant Best was not acting within the scope of his duties and employment as a MPD

police officer, and therefore, the District is not liable to Plaintiff.




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                                         FOURTH DEFENSE

        Defendant Best was not acting under the color of law as a MPD police officer, and

therefore, the District is not liable to Plaintiff.

                                           FIFTH DEFENSE

        The District denies all allegations of wrongdoing, including but not limited to violations of

common law, statutory and operational standards and negligence.

                                           SIXTH DEFENSE

        The District did not act with deliberate indifference in any way that caused Plaintiff harm.

                                        SEVENTH DEFENSE

        The District was not negligent in its supervision, training and/or retention of Defendant

Best.

                                         EIGHTH DEFENSE

        The District denies that it had an unconstitutional custom, policy or practice that was the

moving force that caused Plaintiff’s alleged injuries.

                                           NINTH DEFENSE

        The District denies that it violated Plaintiff’s Fifth Amendment rights.

                                          TENTH DEFENSE

        The District denies that any of its employees acting within the scope of his/her duties and

employment as a MPD police officer or acting under the color of law as a MPD police officer

seized Plaintiff in violation of the Fourth and/or Fifth Amendments.

                                       ELEVENTH DEFENSE

        The District denies that Plaintiff is entitled to injunctive relief.




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                                      TWELFTH DEFENSE

       The District denies that Plaintiff was entrusted to the care of the District and that Plaintiff

reasonably relied on the District.

                                     THIRTEENTH DEFENSE

       The District denies that any of its employees acting within the scope of his/her duties and

employment as a MPD police officer or acting under the color of law as a MPD police officer

subjected Plaintiff to intentional and/or negligent infliction of emotional distress.

                                     FOURTEENTH DEFENSE

       Plaintiff may have failed to comply with D.C. Code § 12-309.

                                     FIFTHTEENTH DEFENSE

       This action may be barred by the statute of limitations.

                                      SIXTEENTH DEFENSE

       The District asserts the doctrine of sovereign immunity and public duty, absence of bad

faith and absence of negligence.

                                     SEVENTEENTH DEFENSE

       If Plaintiff was injured or otherwise damaged as alleged in the complaint, such injuries

and/or damages was the result of the Plaintiff's sole, joint, or concurring negligence with a person

or persons other than this Defendant.

                                     EIGHTEENTH DEFENSE

       If plaintiff was injured or damaged as alleged, such injuries were the result of her own

intentional, illegal or otherwise wrongful conduct.

                                         JURY DEMAND

       The District demands a trial by the maximum number of jurors permitted by law of all

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issues so triable.

        WHEREFORE, having fully answered, the District respectfully urges the Court to

dismiss the complaint with prejudice as to the District of Columbia.

                                             Respectfully submitted,

                                             KARL A. RACINE
                                             Attorney General for the District of Columbia

                                             GEORGE C. VALENTINE
                                             Deputy Attorney General
                                             Civil Litigation Division

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